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6
                                UNITED STATES DISTRICT COURT
7                              EASTERN DISTRICT OF WASHINGTON

8     UNITED STATES OF AMERICA,
9                                               NO. CR-07-2020-LRS-1
                       Plaintiff,
10                                              ORDER DISMISSING DEFENDANT’S
                  v.                            28 U.S.C.§ 2255 MOTION AS MOOT
11
      TRINIDAD RIVERA-CORONA,
12
                       Defendant.
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14        On March 11, 2010, this Court entered an Order Staying Defendant’s
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     28 U.S.C. §2255 Motion Pending Appeal, Ct. Rec. 308.                On October 19,
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     2010, the Ninth Circuit Court of Appeals Mandate was filed (Ct. Rec. 311)
17
     in this case, vacating Defendant Rivera-Corona’s sentence and remanding
18
     the case for resentencing.
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          IT IS HEREBY ORDERED that:
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          1.   Defendant’s      Motion Under 28 U.S.C. §2255 to Vacate, Set Aside,
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22   or Correct Sentence By A Person In Federal Custody, Ct. Rec. 286, is

23   hereby DISMISSED as MOOT based on the Mandate from the Ninth Circuit
24   Court of Appeals remanding this case for resentencing.
25        2.     The District Court Executive is directed to:
26
                               (a)   File this Order;

     ORDER - 1
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1                              (b)   Provide a copy to Defendant AND TO the United
                                     States Attorney, Yakima, Washington
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3         DATED this 22nd       day of October, 2010.
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5                                                    s/Lonny R. Suko
                                         ________________________________________
6                                                      LONNY R. SUKO
                                              Chief United States District Judge
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     ORDER - 2
